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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.
                                                                  Re: D.I. 2618, 5489, 6212, 6213


                            NOTICE OF FILING OF REVISED PROPOSED
                              CONFIRMATION SCHEDULING ORDER

        PLEASE TAKE NOTICE that, on April 15, 2021, Boy Scouts of America and Delaware
BSA, LLC, as debtors and debtors in possession in the above-captioned chapter 11 cases (together,
the “Debtors”) filed the Debtors’ Motion for Entry of Order (I) Scheduling Certain Dates and
Deadlines in Connection with Confirmation of the Debtors’ Plan of Reorganization,
(II) Establishing Certain Protocols, and (III) Granting Related Relief [D.I. 2618] (the
“Confirmation Scheduling Motion” or the “Motion”) with the United States Bankruptcy Court for
the District of Delaware (the “Court”).

      PLEASE TAKE FURTHER NOTICE that attached to the Confirmation Scheduling
Motion as Exhibit A was a proposed order granting the relief requested in the Motion.

       PLEASE TAKE FURTHER NOTICE that on July 2, 2021, the Debtors filed the Notice
of Filing of Revised Proposed Confirmation Scheduling Order [D.I. 5489] (the “Proposed
Confirmation Scheduling Order”).

        PLEASE TAKE FURTHER NOTICE that, following ongoing discussions with parties
in interest, on September 15, 2021, the Debtors filed the Fifth Amended Chapter 11 Plan of
Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 6212] (hereinafter the
“Fifth Amended Plan”).

       PLEASE TAKE FURTHER NOTICE that, contemporaneously with the filing of the
Fifth Amended Plan, the Debtors filed the Amended Disclosure Statement for the Fifth Amended
Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I.
6213].

       PLEASE TAKE FURTHER NOTICE that, following such filings, the Debtors have
revised the Proposed Confirmation Scheduling Order (the “Revised Proposed Confirmation

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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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Scheduling Order”). The Revised Proposed Confirmation Scheduling Order is attached hereto as
Exhibit A.

        PLEASE TAKE FURTHER NOTICE that, for the convenience of the Court and all
parties in interest, a redline of the Revised Proposed Confirmation Scheduling Order marked
against the Proposed Confirmation Scheduling Order is attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the Revised
Proposed Confirmation Scheduling Order at the hearing scheduled for September 21, 2021, at
10:00 a.m. (ET) before the Court.



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